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     Attorneys for Plaintiff and Counterdefendant
8    ASETEK DANMARK A/S and
     Counterdefendant ASETEK USA, INC.
9
10                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
11                                  SAN FRANCISCO DIVISION
12

13   ASETEK DANMARK A/S,                            CASE NO. 3:19-cv-00410-EMC

14                        Plaintiff and             DECLARATION OF ARPITA
                          Counterdefendant,         BHATTACHARYYA IN SUPPORT OF
15                                                  ASETEK DANMARK A/S AND ASETEK
     ASETEK USA, INC.,                              USA, INC.’S OPPOSITION TO
16                                                  DEFENDANTS’ MOTION TO EXCLUDE
                          Counterdefendant,         CERTAIN OPINIONS OF DR. DAVID B.
17                                                  TUCKERMAN REGARDING INVALIDITY
                   v.                               OF THE ASSERTED COOLIT PATENTS,
18                                                  NON-INFRINGEMENT OF THE
     COOLIT SYSTEMS, INC.,                          ASSERTED COOLIT PATENTS, AND
19                                                  INFRINGEMENT OF THE ASSERTED
                          Defendant and             ASETEK PATENTS
20                        Counterclaimant,
                                                    Date:           May 5, 2022
21   COOLIT SYSTEMS USA INC., COOLIT                Time:           1:30 PM
     SYSTEMS ASIA PACIFIC LIMITED,                  Location:       Courtroom 5, 17th Floor
22   COOLIT SYSTEMS (SHENZHEN) CO.,                 Judge:          Hon. Edward M. Chen
     LTD.,
23
                          Defendants,
24
     CORSAIR GAMING, INC. and CORSAIR
25   MEMORY, INC.,

26                        Defendants.

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28
                                                       DECL. OF A. BHATTACHARYYA ISO ASETEK’S OPP TO DEFS’ MOT TO
                                                                       EXCLUDE CERTAIN OPINIONS OF DR. TUCKERMAN
                                                                                      CASE NO. 3:19-CV-00410-EMC
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1           I, Arpita Bhattacharyya, declare as follows:

2           1.      I am an attorney licensed to practice before this Court and all courts of the State of

3    California, and am a Partner with Finnegan, Henderson, Farabow, Garrett & Dunner, LLP, counsel

4    for Plaintiff and Counterdefendant Asetek Danmark A/S (“Asetek”) in the above-entitled action. I

5    submit this declaration in support of Asetek’s Opposition to Defendants’ Motion to Exclude Certain

6    Opinions of Dr. David B. Tuckerman regarding Invalidity of the Asserted CoolIT Patents, Non-

7    Infringement of the Asserted CoolIT Patents, and Infringement of the Asserted Asetek Patents. The

8    matters stated herein are based upon my personal knowledge, and if called as a witness, would

9    testify as to the following statements.
10                                   IDENTIFICATION OF EXHIBITS
11          2.      Attached hereto as Exhibit A is a true and correct copy of an excerpt of the
12   December 20, 2021 deposition of Dr. David Tuckerman, Asetek’s expert.
13          3.      Attached hereto as Exhibit B is a true and correct copy of an excerpt of the March 18,
14   2022 deposition of Dr. David Tuckerman, Asetek’s expert.
15          4.      Attached hereto as Exhibit C is a true and correct copy of an excerpt of the
16   December 22, 2021 deposition of Dr. David Tuckerman, Asetek’s expert.
17          5.      Attached hereto as Exhibit D is a true and correct copy of an excerpt of the January
18   10, 2022 deposition of Dr. Himanshu Pokharna, CoolIT’s expert.
19          6.      Attached hereto as Exhibit E is a true and correct copy of Exhibit 196 to the
20   deposition of André Eriksen, which is a copy of an Asetek press release dated October 30, 2012.
21          7.       Attached hereto as Exhibit F is a true and correct copy of Exhibit 129 to the
22   deposition of Kamal Mostafavi, a document produced by CoolIT and bearing Bates Numbers
23   COOLIT0036274-COOLIT0036288 (submitted for filing under seal).
24          8.      Attached hereto as Exhibit G is a true and correct copy of an excerpt of the August
25   19, 2021 deposition of Kamal Mostafavi, CoolIT’s Rule 30(b)(6) designee (submitted for filing
26   under seal).
27          9.      Attached hereto as Exhibit H is a true and correct copy of an excerpt of the
28   December 30, 2021 deposition of Dr. David Tuckerman, Asetek’s expert.
                                                              DECL. OF A. BHATTACHARYYA ISO ASETEK’S OPP TO DEFS’ MOT TO
                                                        1                     EXCLUDE CERTAIN OPINIONS OF DR. TUCKERMAN
                                                                                             CASE NO. 3:19-CV-00410-EMC
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1                          RELEVANT FACTS CITED IN ASETEK’S MOTION

2            10.     Concerning the Antarctica prior art device, Defendants’ expert used the same

3    methodology, measuring the microchannels with calipers, except he measured at the top of the

4    channels, whereas Dr. Tuckerman measured at the base. Defendants’ counsel used its expert’s

5    measurements to cross-examine Dr. Tuckerman in two of Dr. Tuckerman’s depositions, first on

6    December 20, 2021 and again on March 18, 2022.

7            11.     Dr. Tuckerman did not volunteer the opinion testimony that CoolIT is trying to

8    exclude and it was not testimony solicited by Asetek’s counsel on redirect. The testimony by Dr.

9    Tuckerman was provided in response to questions by Defendants’ counsel and it was directly
10   responsive to those questions by Defendants’ counsel.

11           12.     Dr. Tuckerman was not involved in this case from the very beginning. Dr. Tuckerman

12   got involved in this case only in early 2021 after Asetek’s previous expert (Dr. Donald Tilton) had to

13   bow out of the Asetek cases because he took a full-time job in the U.S. military base in Guam that

14   kept him very busy and unavailable to consult in this case. Asetek’s invalidity contentions (which

15   identify Asetek’s prior art references and obviousness combinations for this case) had already been

16   submitted back in 2019, and it is understandable that Dr. Tuckerman was not involved in selecting

17   the initial list of prior art references included in those contentions.

18           13.     When Dr. Tuckerman submitted his Reports in this case and sat for his depositions,

19   he had only assisted Asetek with one brief IPR declaration and he had never worked as an expert in

20   any other IPR proceeding before. Dr. Tuckerman had not worked as an expert witness previously.

21           14.     During the depositions of Dr. Tuckerman, Defendants’ counsel asked vague,

22   incomplete, and/or improper questions and often denied Dr. Tuckerman the opportunity to review

23   his Reports or certain exhibits. Many of the examples identified in Defendants’ motion suffer from

24   these issues.

25           15.     For the Cooler Master product, Dr. Tuckerman is relying on Defendants’ competitive

26   analysis that shows that the competing Cooler Master product has a non-split flow design, i.e., a non-

27   infringing design around. Dr. Tuckerman also relied on representation from Asetek’s counsel, who

28   personally inspected the Cooler Master product, that it does not have split flow.
                                                                DECL. OF A. BHATTACHARYYA ISO ASETEK’S OPP TO DEFS’ MOT TO
                                                          2                     EXCLUDE CERTAIN OPINIONS OF DR. TUCKERMAN
                                                                                               CASE NO. 3:19-CV-00410-EMC
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1           16.     There is no misalignment in the definitions of “radial blade” provided by Drs.

2    Tuckerman and Stein. The two experts used different coordinate systems to define the same term—

3    Dr. Tuckerman used a cartesian coordinate system (x, y, z) and Dr. Stein used a cylindrical

4    coordinate system (r, θ, z).

5

6           I declare under penalty of perjury under the laws of the United States for the forgoing is true

7    and correct. Executed this 14th day of April 2022, at Palo Alto, California

8

9                                                 By:       /s/ Arpita Bhattacharyya
                                                        Arpita Bhattacharyya
10                                                      Attorneys for Plaintiff and Counterdefendant
                                                        ASETEK DANMARK A/S and
11                                                      Counterdefendant ASETEK USA, INC.

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                                                              DECL. OF A. BHATTACHARYYA ISO ASETEK’S OPP TO DEFS’ MOT TO
                                                         3                    EXCLUDE CERTAIN OPINIONS OF DR. TUCKERMAN
                                                                                             CASE NO. 3:19-CV-00410-EMC
